Case 2:25-cv-02588-MWC-ADS       Document 1     Filed 03/24/25   Page 1 of 38 Page ID
                                       #:1


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11
                          UNITED STATES DISTRICT COURT
12
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
     ESTATE OF FRANCISCO NUNEZ                 ) CASE NO.: 2:25-cv-2588
14   by and through his successors in          )
     interest; MERCEDES SALINAS DE             ) COMPLAINT FOR DAMAGES
15   NUNEZ, individually; FRANCISCO            )
     NUNEZ NINO, individually; A.N.1, a        ) 1. Excessive Force, Fourth Amendment
16   minor, by and through their guardian      )    Violation (42 U.S.C. § 1983);
     ad litem ADRIANA HERNANDEZ;               ) 2. Denial of Summon Medical Care,
17   A.N.2, a minor, by and through their      )    Fourth Amendment Violation (42
     guardian ad litem, ADRIANA                )
                                               ) 3. U.S.C.  § 1983);
18   HERNANDEZ; F.N., a minor, by and               Special  Relationship, Fourteenth
     through their guardian VANESSA            )
     RODRIGUEZ; B.N., a minor, by and          )    Amendment     Violation (42 U.S.C. §
19                                                  1983);
     through their guardian VANESSA            )
     RODRIGUEZ; ALEXUS                         ) 4. State Created Danger, Fourteenth
20                                                  Amendment Violation (42 U.S.C. §
     ROUGHFACE, individually;                  )
21   MARIANNA NUNEZ, individually;             )    1983;
                                               ) 5. Deprivation of Subst. Due Process –
22                      Plaintiffs,            )    Interference with Familial
            v.                                 )    Association (42 U.S.C. §1983);
23                                             ) 6. Municipal Liability (Monell) (42
     LOS ANGELES COUNTY                        )    U.S.C. §1983);
24   SHERIFF’S DEPARTMENT, a public            ) 7. Negligence;
     entity; LOS ANGELES COUNTY, a             ) 8. Battery;
25   public entity; LOGAN SIMI, an             ) 9. Violations of Civil Code Section 52.1
     individual; SHANE QUESADA, an             )
     individual; NOEL WITTY, an                )    (Tom Bane Act)
26
     individual; DOES 1 through 10,            )
27   individually,                             ) DEMAND FOR JURY TRIAL
                                               )
28                      Defendants.            )

                                                1
                                      COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS        Document 1      Filed 03/24/25   Page 2 of 38 Page ID
                                        #:2


 1                                        INTRODUCTION
 2         1.       This is a civil rights action concerning the tragic death of FRANCISCO
 3   NUNEZ on March 9, 2024. FRANCISCO NUNEZ was merely thirty-eight years old
 4   when LOS ANGELES SHERIFF’S DEPARTMENT deputies chased him to an alley
 5   where they caused FRANCISCO NUNEZ injuries and left him to die, only to be found
 6   at the same location, dead, three (3) days later.
 7         2.       FRANCISCO           NUNEZ
 8   was a beloved father, brother, son and
 9   community member. FRANCISCO
10   NUNEZ leaves behind six (6) children
11   and his parents, Plaintiffs herein. Since
12   FRANCISCO NUNEZ’s death, his
13   family has been fighting for justice and
14   not allowing FRANCISCO NUNEZ to
15   die in vain.
16         3.       On    March    9,     2024,
17   FRANCISCO           NUNEZ    was      with
18   friends at a friend’s apartment complex 44000 block of Division Street, Lancaster, CA
19   93535. In the evening, LOS ANGELES SHERIFF’S DEPARTMENT deputies
20   LOGAN SIMI, SHANE QUESADA, NOEL WITTY, and DOES 1-10, inclusive,
21   attempted to make a consensual stop of FRANCISCO NUNEZ and the six (6) other
22   individuals he was with.
23         4.       However, no 911 call had been placed that night regarding FRANCISCO
24   NUNEZ, no report of suspicious activity had been made regarding FRANCISCO
25   NUNEZ, and there were no pleas for help regarding FRANCISCO NUNEZ.
26         5.       Upon arrival, Defendant Deputies LOGAN SIMI, SHANE QUESADA,
27   NOEL WITTY, and DOES 1-10, inclusive, yelled at the men to leave their car and lay
28   face-down on the hood of Defendant Deputies LOGAN SIMI, SHANE QUESADA,
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                                        COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS       Document 1     Filed 03/24/25   Page 3 of 38 Page ID
                                       #:3


 1   NOEL WITTY, and DOES 1-10's vehicle.
 2         6.     Four (4) individuals, NUNEZ’s friends, immediately ran and got away.
 3         7.     NUNEZ and the two (2) other individuals also ran. After NUNEZ and the
 4   two (2) other individuals ran, Defendants LOGAN SIMI, SHANE QUESADA, NOEL
 5   WITTY, and DOES 1-10, engaged in a foot pursuit to attempt to detain NUNEZ and
 6   the two (2) other individuals. An independent witness has stated that after Defendants
 7   LOGAN SIMI, SHANE QUESADA, NOEL WITTY, and DOES 1-10, attempted to
 8   detain NUNEZ and the two (2) remaining individuals, the deputies stated that they had
 9   “two (2) in custody.” Thereafter, according to the witness, Defendants LOGAN SIMI,
10   SHANE QUESADA, NOEL WITTY, and DOES 1-10, stated that they have the “third
11   in custody.” The two (2) individuals who were in LASD custody were Eric Guzman
12   and Robert Garcia. Therefore, NUNEZ was the “third in custody” given that two (2)
13   were detained and four (4) got away at the inception of the deputies’ contact.
14         8.     In fear for his life in an area known for deputy gang violence,
15   FRANCISCO NUNEZ instead ran towards Division Street.
16         9.     Defendant Deputies LOGAN SIMI, SHANE QUESADA, NOEL
17   WITTY, and DOES 1-10, inclusive, chased FRANCISCO NUNEZ across Division
18   Street into an open field. Defendant Deputies LOGAN SIMI, SHANE QUESADA,
19   NOEL WITTY, and DOES 1-10, inclusive, then contacted and handcuffed
20   FRANCISCO NUNEZ. Upon information and belief, FRANCISCO NUNEZ was last
21   seen alive while in the custody of LOS ANGELES COUNTY SHERIFF’S
22   DEPARTMENT Deputies.
23         10.    Upon information and belief Defendant Deputies LOGAN SIMI, SHANE
24   QUESADA, NOEL WITTY, and DOES 1-10, inclusive, then began attacking
25   FRANCISCO NUNEZ, striking FRANCISCO NUNEZ repeatedly and using their
26   body weight to press FRANCISCO NUNEZ to the ground, leaving FRANCISCO
27   NUNEZ covered in bruises, abrasions, possible burns, and blunt force trauma to the
28   chest and head. Alternatively, the conduct of Defendant Deputies LOGAN SIMI,
                                                3
                                    COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS        Document 1     Filed 03/24/25   Page 4 of 38 Page ID
                                        #:4


 1   SHANE QUESADA, NOEL WITTY, and DOES 1-10 caused FRANCISCO NUNEZ
 2   to suffer a medical emergency which Defendants failed to summon medical care for
 3   FRANCISCO NUNEZ.
 4         11.    As further alleged herein, the use of force on FRANCISCO NUNEZ was
 5   unwarranted and excessive. FRANCISCO NUNEZ was not a threat to anyone and the
 6   officers should have never used force on FRANCISCO NUNEZ.
 7         12.    Worst yet, the deputies failed to summon medical care while they had
 8   FRANCISCO NUNEZ in their custody. FRANCISCO NUNEZ, who was also
 9   asthmatic, began experiencing a medical emergency. FRANCISCO NUNEZ died as a
10   result of Defendant DEPUTIES’ attack.
11         13.     Further adding insult to injury, FRANCISCO NUNEZ’s body was
12   moved repeatedly after his death, with his pockets found turned inside out and emptied
13   and his hands, mouth, and pants covered in blood.
14         14.    Clearly, FRANCISCO NUNEZ suffered severe mental, physical, and
15   emotional distress and anguish in the time leading up to his brutal death.
16         15.    Accordingly, this civil rights action seeks to vindicate FRANCISCO
17   NUNEZ’s tragic death and egregious violation of his constitutional rights, as well as
18   bring justice for the deprivation of Plaintiffs MERCEDES SALINAS DE NUNEZ and
19   FRANCISCO NUNEZ NINO’s beloved son and Plaintiffs A.N.1, A.N.2, F.N., B.N.,
20   ALEXUS ROUGHFACE, and MARIANNA NUNEZ’s beloved father, FRANCISCO
21   NUNEZ.
22                              JURISDICTION AND VENUE
23         16.    This action is brought pursuant to 42 U.S.C. §§ 1983 and 1988, and the
24   Fourth and Fourteenth Amendments to the United States Constitution. Jurisdiction is
25   conferred upon this Court by 28 U.S.C. §§ 1331 and 1343.
26         17.    Venue is proper within the Central District of California pursuant to 28
27   U.S.C. § 1391(b)(1) and (2) because all Defendants reside within this district and the
28   events and omissions giving rise to Plaintiffs’ claims occurred within this district.
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                                    COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS          Document 1     Filed 03/24/25   Page 5 of 38 Page ID
                                          #:5


 1                                       PENDANT CLAIMS
 2            18.   Plaintiffs have complied with the California Tort Claims Act requirements
 3   with respect to their claims arising under state law. On August 2, 2024, Plaintiffs
 4   presented a tort claim to Defendant COUNTY. On September 19, 2024, Defendant
 5   COUNTY rejected the tort claim. On September 24, 2024, Defendant COUNTY
 6   mailed the notices of rejection to Plaintiffs’ counsel. Accordingly Plaintiffs timely
 7   presented tort claims and complied with the Tort Claims Act.
 8            19.   With respect to these supplemental state claims, Plaintiffs request that this
 9   Court exercise supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over such claims
10   as they arise from the same facts and circumstances which underlie the federal claims.
11                                            PARTIES
12         A. Plaintiffs
13            20.   Decedent FRANCISCO NUNEZ (hereinafter also “NUNEZ”), was a 38-
14   year-old man who was, at all times relevant hereto, a resident of the State of California
15   and County of LOS ANGELES. The claims made by Plaintiff FRANCISCO NUNEZ,
16   are brought by his successors in interest, MERCEDES SALINAS DE NUNEZ.
17            21.   Plaintiff MERCEDES SALINAS DE NUNEZ, is and was, at all times
18   relevant hereto, the natural mother of decedent FRANCISCO NUNEZ, and at all times
19   relevant hereto was a resident of the County of LOS ANGELES, California. Plaintiff
20   MERCEDES SALINAS DE NUNEZ, as successor in interest, brings these claims
21   pursuant to California Code of Civil Procedure §§ 377.20 et seq. and 377.60 et seq.,
22   which provide for survival and wrongful death actions. Plaintiff MERCEDES
23   SALINAS DE NUNEZ also brings her claims individually and on behalf of decedent
24   FRANCISCO NUNEZ on the basis of 42 U.S.C. § 1983, the United States
25   Constitution, federal and state civil rights law and California law. Plaintiff also brings
26   these claims as a Private Attorney General, to vindicate not only her rights, but others’
27   civil rights of great importance.
28   ///
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                                      COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS        Document 1      Filed 03/24/25   Page 6 of 38 Page ID
                                        #:6


 1         22.    Plaintiff FRANCISCO NUNEZ NINO, is and was, at all times relevant
 2   hereto, the natural father of decedent FRANCISCO NUNEZ, and at all times relevant
 3   hereto was a resident of the County of LOS ANGELES, California. Plaintiff
 4   FRANCISCO NUNEZ NINO, as successor in interest, brings these claims pursuant to
 5   California Code of Civil Procedure §§ 377.20 et seq. and 377.60 et seq., which provide
 6   for survival and wrongful death actions. Plaintiff FRANCISCO NUNEZ NINO also
 7   brings his claims individually and on behalf of decedent FRANCISCO NUNEZ on the
 8   basis of 42 U.S.C. § 1983, the United States Constitution, federal and state civil rights
 9   law and California law. Plaintiff also brings these claims as a Private Attorney General,
10   to vindicate not only his rights, but others’ civil rights of great importance.
11         23.    Plaintiff A.N.1, is and was, at all times relevant hereto, the natural child
12   of decedent FRANCISCO NUNEZ, and at all times relevant hereto was a resident of
13   the County of LOS ANGELES, California. Plaintiff A.N.1, as successor in interest by
14   and through guardian ad litem ADRIANA HERNANDEZ, brings these claims
15   pursuant to California Code of Civil Procedure §§ 377.20 et seq. and 377.60 et seq.,
16   which provide for survival and wrongful death actions. Plaintiff A.N.1 also brings their
17   claims individually and on behalf of decedent FRANCISCO NUNEZ on the basis of
18   42 U.S.C. § 1983, the United States Constitution, federal and state civil rights law and
19   California law. Plaintiff also brings these claims as a Private Attorney General, to
20   vindicate not only their rights, but others’ civil rights of great importance.
21         24.    Plaintiff A.N.2, is and was, at all times relevant hereto, the natural child
22   of decedent FRANCISCO NUNEZ, and at all times relevant hereto was a resident of
23   the County of LOS ANGELES, California. Plaintiff A.N.2, as successor in interest by
24   and through guardian ad litem ADRIANA HERNANDEZ, brings these claims
25   pursuant to California Code of Civil Procedure §§ 377.20 et seq. and 377.60 et seq.,
26   which provide for survival and wrongful death actions. Plaintiff A.N.2 also brings their
27   claims individually and on behalf of decedent FRANCISCO NUNEZ on the basis of
28   42 U.S.C. § 1983, the United States Constitution, federal and state civil rights law and
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                                     COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS         Document 1     Filed 03/24/25    Page 7 of 38 Page ID
                                         #:7


 1   California law. Plaintiff also brings these claims as a Private Attorney General, to
 2   vindicate not only their rights, but others’ civil rights of great importance.
 3         25.    Plaintiff F.N., is and was, at all times relevant hereto, the natural child of
 4   decedent FRANCISCO NUNEZ, and at all times relevant hereto was a resident of the
 5   County of LOS ANGELES, California. Plaintiff F.N., as successor in interest by and
 6   through guardian ad litem VANESSA RODRIGUEZ, brings these claims pursuant to
 7   California Code of Civil Procedure §§ 377.20 et seq. and 377.60 et seq., which provide
 8   for survival and wrongful death actions. Plaintiff F.N. also brings their claims
 9   individually and on behalf of decedent FRANCISCO NUNEZ on the basis of 42 U.S.C.
10   § 1983, the United States Constitution, federal and state civil rights law and California
11   law. Plaintiff also brings these claims as a Private Attorney General, to vindicate not
12   only their rights, but others’ civil rights of great importance.
13         26.    Plaintiff B.N., is and was, at all times relevant hereto, the natural child of
14   decedent FRANCISCO NUNEZ, and at all times relevant hereto was a resident of the
15   County of LOS ANGELES, California. Plaintiff B.N., as successor in interest by and
16   through guardian ad litem VANESSA RODRIGUEZ, brings these claims pursuant to
17   California Code of Civil Procedure §§ 377.20 et seq. and 377.60 et seq., which provide
18   for survival and wrongful death actions. Plaintiff B.N. also brings their claims
19   individually and on behalf of decedent FRANCISCO NUNEZ on the basis of 42 U.S.C.
20   § 1983, the United States Constitution, federal and state civil rights law and California
21   law. Plaintiff also brings these claims as a Private Attorney General, to vindicate not
22   only their rights, but others’ civil rights of great importance.
23         27.    Plaintiff ALEXUS ROUGHFACE, is and was, at all times relevant hereto,
24   the stepchild of decedent FRANCISCO NUNEZ, and at all times relevant hereto was
25   a resident of the County of LOS ANGELES, California. Plaintiff ALEXUS
26   ROUGHFACE, as successor in interest, brings these claims pursuant to California
27   Code of Civil Procedure §§ 377.20 et seq. and 377.60 et seq., which provide for
28   survival and wrongful death actions. Plaintiff ALEXUS ROUGHFACE also brings her
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                                     COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS        Document 1      Filed 03/24/25      Page 8 of 38 Page ID
                                        #:8


 1   claims individually and on behalf of decedent FRANCISCO NUNEZ on the basis of
 2   42 U.S.C. § 1983, the United States Constitution, federal and state civil rights law and
 3   California law. Plaintiff also brings these claims as a Private Attorney General, to
 4   vindicate not only her rights, but others’ civil rights of great importance.
 5         28.    Plaintiff MARIANNA NUNEZ, is and was, at all times relevant hereto,
 6   the natural child of decedent FRANCISCO NUNEZ, and at all times relevant hereto
 7   was a resident of the County of LOS ANGELES, California. Plaintiff MARIANNA
 8   NUNEZ as successor in interest, brings these claims pursuant to California Code of
 9   Civil Procedure §§ 377.20 et seq. and 377.60 et seq., which provide for survival and
10   wrongful death actions. Plaintiff MARIANNA NUNEZ also brings her claims
11   individually and on behalf of decedent FRANCISCO NUNEZ on the basis of 42 U.S.C.
12   § 1983, the United States Constitution, federal and state civil rights law and California
13   law. Plaintiff also brings these claims as a Private Attorney General, to vindicate not
14   only her rights, but others’ civil rights of great importance.
15       B. Defendants
16         29.    Defendant LOS ANGELES COUNTY SHERIFF’S DEPARTMENT
17   (hereinafter also “LASD”) is a public entity with the capacity to sue and be sued1. At all
18   times relevant to the facts alleged herein, under contract with the County of LOS
19   ANGELES, Defendant LOS ANGELES COUNTY SHERIFF’S DEPARTMENT was
20   responsible for law enforcement services in the County of LOS ANGELES and City of
21   Lancaster.
22         30.    Defendant COUNTY OF LOS ANGELES (hereinafter also “COUNTY”)
23   is a public entity with the capacity to sue and be sued. At all times relevant to the facts
24   alleged herein, Defendant COUNTY was responsible for assuring that the actions,
25
     1
       The Ninth Circuit has held that California law permits § 1983 claims against
26   municipal police departments. See Karim-Panahi v. Los Angeles Police Dep’t, 839
27   F.2d 621, 624 n. 2 (9th Cir. 1988) (“Municipal police departments are ‘public entities’
     under California law and, hence, can be sued in federal court for alleged civil rights
28   violations.).
                                                  8
                                     COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS        Document 1      Filed 03/24/25   Page 9 of 38 Page ID
                                        #:9


 1   omissions, policies, procedures, practices and customs of its employees complied with
 2   the laws and the Constitutions of the United States and of the State of California.
 3         31.    Defendant LOGAN SIMI (hereinafter also “SIMI”) is and was at all
 4   relevant times an individual employed as a deputy of Defendant LOS ANGELES
 5   COUNTY SHERIFF’S DEPARTMENT, acting within color of law and within the
 6   course and scope of such employment.
 7         32.    Defendant SHANE QUESADA (hereinafter also “QUESADA”) is and
 8   was at all relevant times an individual employed as a deputy of Defendant LOS
 9   ANGELES COUNTY SHERIFF’S DEPARTMENT, acting within color of law and
10   within the course and scope of such employment.
11         33.    Defendants DOE 1-10 LOS ANGELES COUNTY SHERIFF’S
12   DEPARTMENT DEPUTIES, at all times mentioned herein, were employees of the
13   COUNTY. Defendants DOE 1-10 LOS ANGELES COUNTY SHERIFF’S
14   DEPARTMENT DEPUTIES are being sued individually and in their capacities as
15   COUNTY employees. At all relevant times, Defendants DOES 1-10, inclusive, were
16   acting under color of state law.
17         34.    Plaintiff is currently ignorant of the true names and capacities of
18   Defendants DOES 1 through 10 (“DOE Defendants”) and therefore sue these Defendants
19   by such fictitious names. Plaintiffs are informed and believe and thereon allege that each
20   Defendant so named is responsible in some manner for the injuries and damages
21   sustained by Plaintiff as set forth herein. Plaintiff will amend the complaint to state the
22   names and capacities of each DOE Defendant when they have been ascertained.
23   Plaintiffs are informed, believe, and thereupon allege that each DOE defendant is a
24   resident of California.
25         35.    Each of the defendants, including the DOE defendants, caused, and is
26   responsible for, the unlawful conduct and resulting injuries suffered by Plaintiffs by,
27   among other things, personally participating in the unlawful conduct, acting jointly, or
28   conspiring with others who did so; by ordering, authorizing, acquiescing in, or setting
                                                  9
                                        COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS        Document 1     Filed 03/24/25    Page 10 of 38 Page ID
                                        #:10


 1   in motion policies, plans, or actions that led to the unlawful conduct, by failing to take
 2   action to prevent the unlawful conduct; by failing and refusing to initiate and maintain
 3   adequate training and supervision; by failing to enact policies to address the
 4   constitutional rights of protesters despite the obvious need for such a policy; and by
 5   ratifying the unlawful conduct that occurred by agents and officers under their direction
 6   and control, including failing to take remedial or disciplinary action.
 7            36.   Plaintiffs are informed and believe and thereon allege that each of the
 8   Defendants was at all material times an agent, servant, employee, partner, joint venturer,
 9   co-conspirator, and/or alter ego of the remaining Defendants, and in doing the things
10   herein alleged, was acting within the course and scope of that relationship. Plaintiffs are
11   further informed and believe and thereon allege that each of the Defendants herein gave
12   consent, aid, and assistance to each of the remaining Defendants, and ratified and/or
13   authorized the acts or omissions of each Defendant as alleged herein, except as may be
14   hereinafter specifically alleged. At all material times, each Defendant was jointly
15   engaged in tortious activity and an integral participant in the conduct described herein,
16   resulting in the deprivation of Plaintiffs’ and decedent’s constitutional rights and other
17   harm.
18            37.   In doing each of the acts and/or omissions alleged herein, Defendants, and
19   each of them, acted under color of authority and/or under the color of law.
20         FACTUAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
21            38.   FRANCISCO NUNEZ was thirty-eight (38) years old at the time of his
22   death. NUNEZ lived with his family in Lancaster, California, where he had lived for
23   many years. On March 9, 2024, LOS ANGELES SHERIFF’S DEPARTMENT
24   Deputies LOGAN SIMI, SHANE QUESADA, NOEL WITTY, and DOES 1-10,
25   inclusive, chased him to an alley where they would cause FRANCISCO NUNEZ’s
26   death.
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                                     COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS         Document 1     Filed 03/24/25   Page 11 of 38 Page ID
                                         #:11


 1         39.    In the early morning of March 9, 2024, FRANCISCO NUNEZ was
 2   hanging out with six (6) friends at a friend’s apartment complex. With the inclusion of
 3   FRANCISCO NUNEZ, NUNEZ was part of a group of seven (7) men.
 4         40.    While NUNEZ was lawfully present at the apartment complex,
 5   Defendants LOGAN SIMI, SHANE QUESADA, NOEL WITTY, and DOES 1-10,
 6   were driving through and decided to conduct a consensual stop.
 7         41.    There were no 911 calls, reports of criminal activity, or requests for help
 8   regarding FRANCISCO NUNEZ. There was no reason to stop NUNEZ for simply
 9   spending time with friends.
10         42.    Defendants LOGAN SIMI, SHANE QUESADA, NOEL WITTY, and
11   DOES 1-10, yelled at the men to leave their car and lay face-down on the hood of the
12   DEPUTIES’ vehicle.
13         43.    Four (4) individuals, NUNEZ’s friends, immediately ran and got away.
14         44.    NUNEZ and the two (2) other individuals also ran. After NUNEZ and the
15   two (2) other individuals ran, Defendants LOGAN SIMI, SHANE QUESADA, NOEL
16   WITTY, and DOES 1-10, engaged in a foot pursuit to attempt to detain NUNEZ and
17   the two (2) other individuals. An independent witness has stated that after Defendants
18   LOGAN SIMI, SHANE QUESADA, NOEL WITTY, and DOES 1-10, attempted to
19   detain NUNEZ and the two (2) remaining individuals, the deputies stated that they had
20   “two (2) in custody.” Thereafter, according to the witness, Defendants LOGAN SIMI,
21   SHANE QUESADA, NOEL WITTY, and DOES 1-10, stated that they have the “third
22   in custody.” The two (2) individuals who were in LASD custody were Eric Guzman
23   and Robert Garcia. Therefore, NUNEZ was the “third in custody” given that two (2)
24   were detained and four (4) got away at the inception of the deputies’ contact.
25         45.    Upon information and belief, FRANCISCO NUNEZ was chased by
26   Defendants LOGAN SIMI, SHANE QUESADA, NOEL WITTY, and DOES 1-10,
27   across Division Street into an open field.
28   ///
                                                  11
                                     COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS       Document 1     Filed 03/24/25   Page 12 of 38 Page ID
                                       #:12


 1         46.    FRANCISCO NUNEZ was last seen alive when Defendants LOGAN
 2   SIMI, SHANE QUESADA, NOEL WITTY, and DOES 1-10, made contact with
 3   NUNEZ.
 4         47.    FRANCISCO NUNEZ was then apprehended by Defendants LOGAN
 5   SIMI, SHANE QUESADA, NOEL WITTY, and DOES 1-10, who then handcuffed
 6   him, as demonstrated by the abrasions and bruising on his wrists in the form of handcuff
 7   marks. Autopsy photographs taken of FRANCISCO NUNEZ confirm that
 8   FRANCISCO NUNEZ had handcuff abrasions on both of his wrists.
 9         48.    Unsatisfied with simply apprehending FRANCISCO NUNEZ, upon
10   information and belief, Defendants LOGAN SIMI, SHANE QUESADA, NOEL
11   WITTY, and DOES 1-10, then began a brutal assault on the helpless and restrained
12   NUNEZ. After placing NUNEZ in their custody, Defendants LOGAN SIMI, SHANE
13   QUESADA, NOEL WITTY, and DOES 1-10, began to use physical force on NUNEZ
14   by physically striking him or using their body weight to press NUNEZ to the ground,
15   leading to bruises, abrasions, and blunt force trauma to NUNEZ’s chest and head which
16   were confirmed by an autopsy.
17         49.    At the very least, Defendants LOGAN SIMI, SHANE QUESADA, NOEL
18   WITTY, and DOES 1-10, failed to summon medical care for NUNEZ was NUNEZ
19   was in clear medical distress. In fact, Defendants LOGAN SIMI, SHANE QUESADA,
20   NOEL WITTY, and DOES 1-10, dumped NUNEZ’s body near the apartment complex
21   where the foot pursuit commenced.
22         50.    Eventually, on March 14, 2024, FRANCISCO NUNEZ’s body was
23   noticed by a passerby who had seen NUNEZ lying next to a garage a mere 250 feet
24   from where NUNEZ was first contacted by Defendant DEPUTIES. The passerby
25   reported that he had first seen NUNEZ lying there three days prior, on March 11, 2024.
26         51.    Despite FRANCISCO NUNEZ having lain in the same spot for three days,
27   NUNEZ’s body bore signs of having been moved no fewer than twice after his death.
28   Between March 9, 2024, and March 11, 2024, Defendant DEPUTIES tampered with
                                                12
                                    COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS       Document 1     Filed 03/24/25   Page 13 of 38 Page ID
                                       #:13


 1   NUNEZ’s body in a bid to hide the results of their attack on NUNEZ. Blood was on
 2   NUNEZ’s body, in NUNEZ’s mouth, and on the ground around NUNEZ’s body.
 3   Adding insult to injury, NUNEZ’s pockets had been emptied and turned inside out.
 4           52.   Clearly, FRANCISCO NUNEZ died due to the force used by Defendant
 5   DEPUTIES and their failure to summon medical care.
 6           53.   Unfortunately, FRANCISCO NUNEZ suffered significantly prior to his
 7   death. NUNEZ’s body bore numerous bruises, abrasions, and even possible burn marks
 8   that indicate a protracted and painful death. NUNEZ also had blood on his hands and
 9   pants, bruising and abrasions on his knuckles and wrists, and blood welling in his
10   mouth.
11                              FIRST CLAIM FOR RELIEF
12                      Excessive Force, Fourth Amendment Violation
13                                     (42 U.S.C. § 1983)
14         (By Plaintiff ESTATE OF FRANCISCO NUNEZ as Against LOGAN SIMI,
15                 SHANE QUESADA, NOEL WITTY, and DOES 1-10)
16           54.   Plaintiffs reallege and incorporates by reference each of the forgoing
17   paragraphs of this Complaint with the same force and effect as if fully set forth herein.
18           55.   Plaintiffs allege that Defendant Deputies LOGAN SIMI, SHANE
19   QUESADA, NOEL WITTY, and DOES 1-10, inclusive, used excessive force against
20   FRANCISCO NUNEZ, which deprived him of his right to be secure in their person
21   against unreasonable searches and seizures as guaranteed to NUNEZ under the Fourth
22   Amendment to the United States Constitution and applied to state actors by the
23   Fourteenth Amendment.
24           56.   The touchstone of the Fourth Amendment is reasonableness and the force
25   used on FRANCISCO NUNEZ was fundamentally unreasonable and in violation of
26   their Fourth Amendment right to be secure in their person against unreasonable
27   searches and seizures.
28   ///
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                                    COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS        Document 1     Filed 03/24/25   Page 14 of 38 Page ID
                                        #:14


 1         57.    At all relevant times, Defendant Deputies LOGAN SIMI, SHANE
 2   QUESADA, NOEL WITTY, and DOES 1-10, inclusive, were LASD deputies who
 3   were acting under color of law.
 4         58.    In fact, on March 9, 2024, Defendants Defendant Deputies LOGAN SIMI,
 5   SHANE QUESADA, NOEL WITTY, and DOES 1-10, inclusive, acting in their
 6   individual and/or representative capacities, in the course and scope of their
 7   employment with LASD, respectively, acting under color of law, used unreasonable
 8   and excessive force and violated the constitutional rights of FRANCISCO NUNEZ
 9   when they used more force than necessary under the circumstances.
10         59.    The contact between Defendant Deputies LOGAN SIMI, SHANE
11   QUESADA, NOEL WITTY, and DOES 1-10, inclusive, began as a non-violent and
12   unsolicited pedestrian stop. There were no 911 calls by anyone to bring Defendants to
13   the site of the stop or any allegations of violent or threatening behavior. Plaintiff
14   FRANCISCO NUNEZ was not armed and did attempt to confront, threaten, or fight
15   Defendants. Indeed, NUNEZ was running in fear for his life the last time he was seen
16   alive. Clearly, the governmental interest in this instance was non-existent.
17         60.    When Defendants Defendant Deputies LOGAN SIMI, SHANE
18   QUESADA, NOEL WITTY, and DOES 1-10, inclusive, used physical force on
19   FRANCISCO NUNEZ substantial enough to leave bruises and burn marks, NUNEZ
20   did not present a threat to the deputies.
21         61.    In fact, FRANCISCO NUNEZ’s body was found with deep bruising
22   consistent with handcuff usage on his wrists. This means that NUNEZ was restrained
23   and helpless at the time that Defendant Deputies LOGAN SIMI, SHANE QUESADA,
24   NOEL WITTY, and DOES 1-10, inclusive, chose to beat him to death mere feet from
25   where they first encountered him.
26         62.    Therefore, the force used by Defendant Deputies LOGAN SIMI, SHANE
27   QUESADA, NOEL WITTY, and DOES 1-10, inclusive, was objectively unreasonable
28   and therefore in violation of the Fourth Amendment.
                                                 14
                                     COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS        Document 1      Filed 03/24/25    Page 15 of 38 Page ID
                                        #:15


 1         63.    Defendant Deputies LOGAN SIMI, SHANE QUESADA, NOEL
 2   WITTY, and DOES 1-10, inclusive, caused the death of FRANCISCO NUNEZ.
 3         64.    By virtue of their misconduct, Defendant Deputies LOGAN SIMI,
 4   SHANE QUESADA, NOEL WITTY, and DOES 1-10, inclusive, are liable for
 5   FRANCISCO NUNEZ’s tragic death.
 6         65.    Accordingly, Defendant Deputies LOGAN SIMI, SHANE QUESADA,
 7   NOEL WITTY, and DOES 1-10, inclusive, violated Plaintiffs’ Fourth Amendment
 8   rights and are liable for all damages recoverable under 42 U.S.C. Section 1983.
 9         66.    Further, FRANCISCO NUNEZ experienced physical pain, severe
10   emotional distress, and mental anguish prior to his death, as well as loss of his life and
11   other damages alleged herein.
12         67.    Plaintiffs by this action, further claims all of Plaintiff’s attorneys’ fees and
13   costs incurred and to be incurred in Plaintiffs presenting, maintaining and prosecuting
14   this action under 42 U.S.C. Section 1988.
15         68.    The conduct of Defendant Deputies LOGAN SIMI, SHANE QUESADA,
16   NOEL WITTY, and DOES 1-10, inclusive, was willful, wanton, malicious, and done
17   with reckless disregard for the rights and safety of FRANCISCO NUNEZ and therefore
18   warrants the imposition of exemplary and punitive damages as to Defendant
19   DEPUTIES.
20                             SECOND CLAIM FOR RELIEF
21                 Denial of Medical Care, Fourth Amendment Violation
22                                      (42 U.S.C. § 1983)
23     (By Plaintiff ESTATE OF FRANCISCO NUNEZ as Against LOGAN SIMI,
24                 SHANE QUESADA, NOEL WITTY, and DOES 1-10)
25         69.    Plaintiffs reallege and incorporate herein by reference each of the forgoing
26   paragraphs of this Complaint with the same force and effect as if fully set forth therein.
27         70.    Claims for the denial of medical assistance after an arrest are analyzed
28   under the Fourth Amendment. Tatum v. City & Cty. of San Francisco, 441 F.3d 1090,
                                                  15
                                     COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS        Document 1     Filed 03/24/25   Page 16 of 38 Page ID
                                        #:16


 1   1098 (9th Cir. 2006). Officers must provide objectively reasonable post-arrest care to
 2   an apprehended suspect. Id. “Due process requires that police officers seek the
 3   necessary medical attention for a detainee when he or she has been injured while being
 4   apprehended by either promptly summoning the necessary medical help or by taking
 5   the injured detainee to a hospital.” Tatum v. City and CITY of San Francisco (9th Cir.
 6   2006) 441 F.3d 1090, 1099 (citing Graham v. Connor, 409 U.S. 386 (1989). 441 F.3d
 7   at 1098).
 8         71.    On March 9, 2024, after it was clear that FRANCISCO NUNEZ needed
 9   medical care, Defendants LOGAN SIMI, SHANE QUESADA, NOEL WITTY, and
10   DOES 1-10, inclusive, denied or failed to summon medical care.
11         72.    Upon information and belief, on March 9, 2024, Defendants LOGAN
12   SIMI, SHANE QUESADA, NOEL WITTY, and DOES 1-10, inclusive, caused
13   NUNEZ to suffer a medical emergency while he was in their custody. NUNEZ suffered
14   a medical emergency because upon information and belief, Defendants LOGAN SIMI,
15   SHANE QUESADA, NOEL WITTY, and DOES 1-10, inclusive, used excessive force
16   on NUNEZ. Given that NUNEZ was subjected to excessive force, he suffered. A
17   medical emergency. Indeed, NUNEZ’s body suffered blunt force trauma as reflected
18   by the medical examination conducted after his death. Clearly, NUNEZ needed
19   medical care.
20         73.    Despite NUNEZ’s medical needs Defendants LOGAN SIMI, SHANE
21   QUESADA, NOEL WITTY, and DOES 1-10, denied and failed to summon medical
22   care for NUNEZ in violation of the Fourth Amendment. Defendants LOGAN SIMI,
23   SHANE QUESADA, NOEL WITTY, and DOES 1-10, should have taken NUNEZ to
24   a hospital to address his medical issues.
25         74.    Instead, Defendants LOGAN SIMI, SHANE QUESADA, NOEL
26   WITTY, and DOES 1-10, left NUNEZ to die in an empty lot where he was found three
27   (3) days later after the use of force.
28   ///
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                                      COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS       Document 1      Filed 03/24/25   Page 17 of 38 Page ID
                                       #:17


 1         75.    Therefore, Defendants LOGAN SIMI, SHANE QUESADA, NOEL
 2   WITTY, and DOES 1-10, inclusive, caused the death of NUNEZ because they denied
 3   and failed to summon medical care when it was obvious that NUNEZ needed medical
 4   care. By virtue of their misconduct, Defendants LOGAN SIMI, SHANE QUESADA,
 5   NOEL WITTY, and DOES 1-10, are liable for NUNEZ’s tragic death because these
 6   Defendants were integral participants in the failure to summon medical care, or because
 7   they failed to intervene to prevent these violations.
 8         76.    Accordingly, Defendants LOGAN SIMI, SHANE QUESADA, NOEL
 9   WITTY, and DOES 1-10,, are liable for all damages recoverable under 42 U.S.C.
10   Section 1983.
11         77.    The ESTATE OF FRANCISCO NUNEZ by this action, further claims all
12   of Plaintiff’s attorneys’ fees and costs incurred and to be incurred in Plaintiff
13   presenting, maintaining and prosecuting this action under 42 U.S.C. Section 1988.
14         78.    The conduct of Defendants LOGAN SIMI, SHANE QUESADA, NOEL
15   WITTY, and DOES 1-10,, was willful, wanton, malicious, and done with reckless
16   disregard for the rights and safety of NUNEZ and therefore warrants the imposition of
17   exemplary and punitive damages as to Defendants LOGAN SIMI, SHANE
18   QUESADA, NOEL WITTY, and DOES 1-10,.
19                              THIRD CLAIM FOR RELIEF
20                                    Special Relationship,
21                             Fourteenth Amendment Violation
22                                      (42 U.S.C. § 1983)
23     (By Plaintiff ESTATE OF FRANCISCO NUNEZ as Against LOGAN SIMI,
24                   SHANE QUESADA, NOEL WITTY, and DOES 1-10)
25         79.    Plaintiffs reallege and incorporate herein by reference each of the forgoing
26   paragraphs of this Complaint with the same force and effect as if fully set forth therein.
27         80.    When a special relationship exists between a person and the state, the
28   special-relationship exception to the Fourteenth Amendment applies. Murguia v.
                                                 17
                                     COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS        Document 1     Filed 03/24/25    Page 18 of 38 Page ID
                                        #:18


 1   Langdon, 61 F.4th 1096, 1106 (9th Cir. 2023). The special-relationship exception
 2   “applies when [the] state ‘takes a person into its custody and holds him there against
 3   his will.’” Id. (citing Patel v. Kent Sch. Dist., 648 F.3d 965, 971 (9th Cir. 2011)). “When
 4   a person is placed in these types of custody, we allow due process claims against the
 5   state for a fairly simple reason: a state cannot restrain a person's liberty without also
 6   assuming some responsibility for the person's safety and well-being.” Id.
 7         81.      At all relevant times, Defendant Deputies LOGAN SIMI, SHANE
 8   QUESADA, NOEL WITTY, and DOES 1-10, inclusive, were LOS ANGELES
 9   COUNTY SHERIFF’S DEPARTMENT deputies who were acting under color of law.
10         82.      Upon information and belief, Defendants LOGAN SIMI, SHANE
11   QUESADA, NOEL WITTY, and DOES 1-10, inclusive, while acting under color of
12   law, placed FRANCISCO NUNEZ in custody when they initially arrived at the scene
13   of the stop.
14         83.      When Defendant Deputies LOGAN SIMI, SHANE QUESADA, NOEL
15   WITTY, and DOES 1-10, inclusive, placed FRANCISCO NUNEZ in custody,
16   NUNEZ was restrained of his liberty.
17         84.      Further, Defendant Deputies LOGAN SIMI, SHANE QUESADA, NOEL
18   WITTY, and DOES 1-10, inclusive, physically restrained FRANCISCO NUNEZ by
19   handcuffing NUNEZ and may have used other physical force including restrictive
20   holds and blunt force.
21         85.      Due to LOGAN SIMI, SHANE QUESADA, NOEL WITTY, and DOES
22   1-10, inclusive, restraint on FRANCISCO NUNEZ’s liberty and failure to preserve his
23   safety and well-being, NUNEZ was severely injured in his encounter with LASD.
24   NUNEZ bore numerous injuries all over his back, chest, arms, lower legs, and face.
25   These injuries were severe to the point of death on an otherwise healthy thirty-eight-
26   year-old man. NUNEZ died of his injuries at some point within the subsequent five
27   days before his body was found. Clearly, NUNEZ died due to the force used by the
28   deputies and their failure to summon medical care.
                                                 18
                                     COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS         Document 1     Filed 03/24/25   Page 19 of 38 Page ID
                                         #:19


 1            86.   As a direct and proximate result of Defendant’s conduct, the civil rights
 2   of FRANCISCO NUNEZ, as protected by the Fourteenth Amendment of the United
 3   States Constitution, were violated and he suffered severe bodily injuries. Further, prior
 4   to his death, NUNEZ experienced physical pain, severe emotional distress, and mental
 5   anguish, and other damages alleged herein.
 6            87.   As a direct and proximate result of Defendants’ acts and/or omissions as
 7   set forth above, FRANCISCO NUNEZ sustained injuries and damages, including
 8   death.
 9            88.   Further, FRANCISCO NUNEZ experienced physical pain, severe
10   emotional distress, and mental anguish prior to his death, as well as loss of his life and
11   other damages alleged herein.
12            89.   Plaintiff ESTATE OF FRANCISCO NUNEZ by this action, further
13   claims all of Plaintiff’s attorneys’ fees and costs incurred and to be incurred in Plaintiff
14   presenting, maintaining, and prosecuting this action under 42 U.S.C. Section 1988.
15            90.   The conduct of Defendant Deputies LOGAN SIMI, SHANE QUESADA,
16   NOEL WITTY, and DOES 1-10, inclusive, was willful, wanton, malicious, and done
17   with reckless disregard for the rights and safety of FRANCISCO NUNEZ, and
18   therefore warrants the imposition of exemplary and punitive damages as to Defendant
19   Deputies LOGAN SIMI, SHANE QUESADA, NOEL WITTY, and DOES 1-10,
20   inclusive, only.
21                              FOURTH CLAIM FOR RELIEF
22                                    State Created Danger -
23                              Fourteenth Amendment Violation
24                                       (42 U.S.C. § 1983)
25       (By Plaintiff ESTATE OF FRANCISCO NUNEZ As Against Defendants
26   LOGAN SIMI, SHANE QUESADA, NOEL WITTY, and DOES 1-10, inclusive)
27            84.   Plaintiffs reallege and incorporate herein by reference each of the forgoing
28   paragraphs of this Complaint with the same force and effect as if fully set forth therein.
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                                      COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS       Document 1     Filed 03/24/25   Page 20 of 38 Page ID
                                       #:20


 1         85.    Under the state-created danger rule, state actors may be held liable under
 2   § 1983 where (1) “‘affirmative conduct on the part of a state actor places a plaintiff in
 3   danger,’” and (2) the state actor “acts with ‘deliberate indifference’ to a ‘known or
 4   obvious danger’” to the plaintiff's safety. Murguia v. Langdon, 61 F.4th 1096, 1111
 5   (9th Cir. 2023) (quoting Penilla v. City of Huntington Park, 115 F.3d 707, 710 (9th
 6   Cir. 1997); Patel v. Kent Sch. Dist., 648 F.3d 965, 974 (9th Cir. 2011)).
 7         86.    Upon information and belief, Defendant Deputies LOGAN SIMI,
 8   SHANE QUESADA, NOEL WITTY, and DOES 1-10, inclusive, while acting under
 9   color of law, affirmatively created or exposed FRANCISCO NUNEZ to the danger of
10   death or serious bodily injury by brutally assaulting NUNEZ while in LASD custody.
11         87.    Indeed, it was the affirmative conduct and actions of Defendant Deputies
12   LOGAN SIMI, SHANE QUESADA, NOEL WITTY, and DOES 1-10, inclusive,
13   which created or exposed FRANCISCO NUNEZ to the danger of death or serious
14   bodily injury given that Defendant DEPUTIES chased NUNEZ with the intention of
15   placing him in their custody, then contacted and handcuffed NUNEZ before assaulting
16   NUNEZ with unknown force and objects sufficient to leave bruises, abrasions, and
17   possible burns.
18         88.    Upon information and belief, the affirmative conduct of Defendant
19   Deputies LOGAN SIMI, SHANE QUESADA, NOEL WITTY, and DOES 1-10,
20   inclusive, allowed for the vile beating and subsequent death of FRANCISCO NUNEZ.
21   Indeed, upon information and belief, but for the affirmative conduct of Defendant
22   DEPUTIES, NUNEZ would have never been exposed to death or serious bodily injury.
23         89.    Given that Defendant Deputies LOGAN SIMI, SHANE QUESADA,
24   NOEL WITTY, and DOES 1-10, inclusive, chased FRANCISCO NUNEZ, handcuffed
25   him, and viciously beat him, it was foreseeable that NUNEZ would suffer death or
26   serious bodily injury.
27         90.    Furthermore, upon information and belief, Defendant Deputies LOGAN
28   SIMI, SHANE QUESADA, NOEL WITTY, and DOES 1-10, inclusive, were
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                                    COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS       Document 1      Filed 03/24/25   Page 21 of 38 Page ID
                                       #:21


 1   deliberately indifferent to the danger NUNEZ faced and was exposed to. In fact,
 2   Defendant DEPUTIES created those dangers and forced them upon NUNEZ in a
 3   shocking violation of their duty as LASD deputies.
 4         91.    As a direct and proximate result of Defendants’ conduct, the civil rights
 5   of FRANCISCO NUNEZ as protected by the Fourteenth Amendment of the United
 6   States Constitution were violated and he suffered serious bodily injury and death.
 7   NUNEZ suffered the loss of his life and experienced physical pain, severe emotional
 8   distress, and mental anguish prior to his death.
 9         92.    Defendants subjected FRANCISCO NUNEZ to their wrongful conduct,
10   depriving NUNEZ of rights described herein, knowingly, maliciously, and with
11   conscious and reckless disregard for whether the rights and safety of NUNEZ and
12   others would be violated by their acts and/or omissions. The conduct of Defendants
13   entitles Plaintiff to punitive damages and penalties allowable under 42 U.S.C. § 1983
14   and as provided by law. Plaintiff does not seek punitive damages against the public
15   entity Defendants.
16         93.    Plaintiff is also entitled to reasonable costs and attorneys’ fees under 42
17   U.S.C. § 1988, and other applicable United States and California codes and laws.\
18                              FIFTH CLAIM FOR RELIEF
19        Deprivation of Substantive Due Process in Violation of the Fourteenth
20                  Amendment—Interference with Familial Association
21      (By Plaintiff, individually, As Against Defendants LOGAN SIMI, SHANE
22                 QUESADA, NOEL WITTY, and DOES 1-10, inclusive)
23         94.    Plaintiffs reallege and incorporate herein by reference each of the forgoing
24   paragraphs of this Complaint with the same force and effect as if fully set forth therein.
25         95.    The aforementioned acts and/or omissions of Defendants in being
26   deliberately indifferent to FRANCISCO NUNEZ’s serious medical needs, health, and
27   safety, in violation of NUNEZ’s constitutional rights, as well as Defendants’ failure to
28   train, supervise, and/or take other appropriate measures to prevent the acts and/or
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                                     COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS       Document 1     Filed 03/24/25    Page 22 of 38 Page ID
                                       #:22


 1   omissions that caused the untimely and wrongful death of NUNEZ, deprived Plaintiffs
 2   of their parent-child relationships with NUNEZ in violation of their substantive due
 3   process rights under the First and Fourteenth Amendments to the United States
 4   Constitution, as both Amendments protect familial association against unwarranted
 5   government interference.
 6         96.    As a direct and proximate result of the aforementioned acts and/or
 7   omissions of Defendants, Plaintiffs suffered injuries and damages as alleged herein
 8   including the loss of love, economic support, companionship, comfort, care assistance,
 9   protection, affection, society, moral support, training, guidance and gifts of
10   FRANCISCO NUNEZ, as well as the costs of funeral and burial services incurred.
11         97.    The aforementioned acts and/or omissions of LOS ANGELES COUNTY
12   SHERIFF’S DEPARTMENT, COUNTY OF LOS ANGELES, Defendant Deputies
13   LOGAN SIMI, SHANE QUESADA, NOEL WITTY, and DOES 1-10, inclusive, were
14   willful, wanton, malicious, and oppressive, thereby justifying an award of exemplary
15   and punitive damages to punish the wrongful conduct alleged herein and to deter such
16   conduct in the future.
17         98.    Plaintiffs have sustained a loss of interest on the value of all damages from
18   the date they were incurred to the present and said loss will continue into the future.
19                              SIXTH CLAIM FOR RELIEF
20                                    Municipal Liability
21                                (Monell - 42 U.S.C. § 1983)
22          (By All Plaintiffs as Against as Against All Defendants Save LASD)
23         99.    Plaintiffs reallege and incorporate herein by reference each of the forgoing
24   paragraphs of this Complaint with same force and effect as if fully set forth herein.
25         100. Pursuant to Monell v. Department of Social Servs., municipalities are
26   “persons” under § 1983 and thus could be held liable for causing a constitutional
27   deprivation. 436 U.S. 658, 690 (1978). The Supreme Court explained that while a
28   municipality may not be held liable under § 1983 for the torts of its employees on a
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                                    COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS           Document 1     Filed 03/24/25    Page 23 of 38 Page ID
                                           #:23


 1   theory of respondent superior, liability may attach where the municipality itself causes
 2   the constitutional violation through the execution of an official policy, practice or
 3   custom. Id. at 690–691.
 4         101. Furthermore, “the inadequacy of police training may serve as the basis for
 5   § 1983 liability inly when the failure to train amounts to deliberate indifference to the
 6   rights of persons with whom the police come into contact.” Flores v. County of Los
 7   Angeles, 758 F.3d 1154, 1158 (9th Cir. 2014) (quoting City of Canton v. Harris, 489
 8   U.S. 378, 388 (1989)).
 9         102. As set forth in the forgoing causes of action, Defendant Deputies LOGAN
10   SIMI, SHANE QUESADA, NOEL WITTY, and DOES 1-10, and each of them,
11   committed clear and well-established violations of constitutional rights against
12   Plaintiffs. within the course and scope of their employment as LASD deputies, under
13   color of law.
14         103. On and for some time prior to March 9, 2024 (and continuing to the
15   present date), Defendants COUNTY, LASD and DOES 6-10, acting with gross
16   negligence and with reckless and deliberate indifference to the rights and liberties of
17   the public in general, and of Plaintiffs, and of persons in his class, situation and
18   comparable position in particular, knowingly maintained, enforced and applied an
19   official recognized custom, policy, and practice of:
20            a. Allowing LASD deputies, including Defendants herein, to be members of
21                   deputy gangs;
22            b. Allowing LASD deputies, including Defendants herein, to use force on
23                   individuals such as FRANCISCO NUNEZ;
24            c. Allowing LASD deputies, including Defendants herein, to deny medical
25                   care to individuals such as FRANCISCO NUNEZ
26            d. Allowing LASD deputies to wield their authority to detain and/or arrest
27                   civilians arbitrarily and capriciously, seizing civilians out of personal spite
28                   or disdain;
                                                    23
                                        COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS     Document 1     Filed 03/24/25   Page 24 of 38 Page ID
                                     #:24


 1           e. Employing and retaining LASD deputies and other personnel, including
 2              Defendants herein, whom the Defendants COUNTY and LASD knew or
 3              reasonably should have discovered to have a high propensity for abusing
 4              their authority, mistreating civilians, and failing to follow established
 5              agency policies respecting the rights of the public and interactions with
 6              civilians;
 7           f. Inadequately hiring, training, supervising, assigning, retaining, and
 8              disciplining LASD employees, including Defendants herein, whom the
 9              Defendants COUNTY and LASD knew or reasonably should have known
10              to be perpetrators of unlawful and/or unconstitutional conduct, allowing
11              such misconduct to go partially or totally unaddressed;
12           g. Maintaining grossly inadequate procedures for reporting, investigating,
13              overseeing, disciplining, and correcting intentional misconduct by LASD
14              employees, including Defendants herein;
15           h. Consistently ratifying the intentional misconduct of LASD employees in
16              public statements and/or subsequent internal “investigations,” thereby
17              cultivating a sense of official impunity within the LASD encouraging of
18              misconduct;
19           i. Encouraging, accommodating, or facilitating a “code of silence” among
20              LASD employees, including Defendants herein, pursuant to which false
21              reports are generated and abuses of power are routinely covered up;
22           j. Transferring, moving, and/or relocating problem deputies to other
23              stations, divisions, positions, and/or to other local municipal agencies
24              altogether, to essentially “bury,” ignore, dilute, hide, spread, etc., these
25              problem actors, along with their incidents of misconduct, evading internal,
26              disciplinary, and other investigations in the process;
27           k. Allowing mistreatment of suspects, arrestees, detainees, and inmates in
28              custody, to allow deputies to pursue membership and/or status in one of
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                                  COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS        Document 1     Filed 03/24/25   Page 25 of 38 Page ID
                                        #:25


 1                the various gang-like, renegade cliques that exist within the LASD, as well
 2                as participating in and/or perpetuating the acknowledgement, allure, and
 3                attainment of such membership and notoriety;
 4             l. Allowing law enforcement personnel to encourage, intimidate, and
 5                compel others to “work in gray,” or maintain a “code of silence” or “blue
 6                code,” regarding unconstitutional abuses in order to insulate law
 7                enforcement from accountability, attract and recruit problematic
 8                individuals to law enforcement, and improperly or expeditiously promote
 9                problem actors into positions of authority within law enforcement, among
10                various other abuses of power and breaches of duty not expressly specified
11                herein.
12         104. The expressly adopted policies and/or widespread, well-known, and
13   longstanding customs or practices set forth above, constitute standard operating
14   procedures within the Defendants COUNTY and LASD, which have directly
15   precipitated the pervasive use of unreasonable and/or excessive force against innocent
16   members of the publics, suspects, arrestees, detainees, prisoners, and the general public
17   at an unignorable and unacceptable scale, not least of which resemble the egregious
18   constitutional violations suffered by Plaintiffs.
19         105. In terms of widespread, well-known, and longstanding customs or
20   practices set forth above, such policies, customs and practices were of significant
21   duration, frequency and extent such that they were standard operating procedure for
22   Defendants LASD and COUNTY. In fact, in 2018, a plumber found the decomposing
23   body of Raymundo Rivera inside a pillar at a Winco supermarket in Lancaster. At the
24   time, Los Angeles County Sheriff’s Department officials said the 35-year-old appeared
25   to have fled during a traffic stop and may have “gotten inside there and gotten down to
26   try and hide from the deputies and then couldn’t get out.” Former LASD Deputy Aaron
27   Tanner later boasted that he and other deputies had chased Rivera — and that they
28   knew he’d fallen into the pillar. Instead of trying to save him, “the deputies left him
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                                     COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS       Document 1     Filed 03/24/25   Page 26 of 38 Page ID
                                       #:26


 1   there to die, and made false reports that they lost track of the suspect in the pursuit.”
 2   Former LASD Deputy Aaron admitted that the deputy gang, the Rattlesnakes,
 3   effectively controls the Lancaster Sheriff’s Station and that its members intimidate
 4   other deputies, make false arrests and frame people. In 2021, the RAND Corporation
 5   published a 230 page report entitled Understanding Subgroups Within the Los Angeles
 6   County Sheriff’s Department2 where it referred to the Rattlesnakes as one of a few
 7   tattooed groups which has flown under the radar. Also in 2021, a 54-page report written
 8   by researchers at Loyola Law School described the group as “a deputy gang operating
 9   out of the Palmdale and Lancaster stations in the Antelope Valley.” The Rattlesnakes’
10   tattoo is described as a skull and a snake. The Rattlesnakes have been documented to
11   exists since at least 2013. In 2013, the United States Department of Justice issued a
12   report to the LASD describing the Rattlesnakes operating out of Antelope Valley. 3
13   “Some Antelope Valley deputies wear tattoos or share paraphernalia with an
14   intimidating skull and snake symbol as a mark of their affiliation with the Antelope
15   Valley stations,” the report said. “Though there are varying interpretations of what
16   these tattoos symbolize, they provide an undeniable visual representation of the gulf
17   between deputies and the community and are an unfortunate reminder of LASD’s
18   history of symbols associated with problematic deputy behavior.” Federal authorities
19   noted in their report that the images were still “widely visible throughout the Antelope
20   Valley.” The report encouraged the Sheriff’s Department to take stronger measures to
21   get deputies to stop displaying such “divisive” insignia. Following the report, in 2015
22   the county entered into a settlement agreement with the federal government, promising
23   to correct some of the policing problems authorities had identified. The settlement
24
     2
25    Link to report: https://assets-us-01.kc-usercontent.com/0234f496-d2b7-00b6-17a4-
     b43e949b70a2/d86c01b3-abea-4285-afaf-6efbd7ceca7a/RR-A616-1_9-15-21.pdf
26
     3
27     Link to June 28, 2023 US Department of Justice Investigation into Deputy Gangs,
     https://www.justice.gov/sites/default/files/crt/legacy/2013/06/28/antelope_findings_6
28   -28-13.pdf
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                                    COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS       Document 1     Filed 03/24/25   Page 27 of 38 Page ID
                                       #:27


 1   agreement is further described below.
 2           106. Upon information and belief, Defendant Deputies LOGAN SIMI,
 3   SHANE QUESADA, NOEL WITTY, and DOES 1-10, are either members, associates
 4   or affiliated with the Rattlesnakes. Given the widespread and longstanding custom and
 5   practice of deputy gangs, such unconstitutional custom and practice caused the death
 6   of FRANCISCO NUNEZ. Indeed, deputy gang members are encouraged to carry out
 7   unlawful acts. Tragically, FRANCISCO NUNEZ met the same fate as Raymundo
 8   Rivera in 2018. However, the Rattlesnakes have been in operation as early as 2013 and
 9   further confirmed to commit constitutional violations by the United Stated Department
10   of Justice as shown in the 2015 Settlement Agreement entered into by the DOJ and
11   LASD. The Settlement Agreement can be found at the following link:
12   https://lasd.org/pdf/SettlementAgreement.pdf.
13           107. Furthermore, a practice or custom can be established by repeated
14   constitutional violations that were not properly investigated and for which the violators
15   were not disciplined, reprimanded or punished. Upon information and belief, the
16   individual defendants herein and other deputies within the Antelope Valley sheriff’s
17   stations were not disciplined, reprimanded or punished for constitutional violations. In
18   fact, in August 2011, the US Department of Justice (DOJ), Civil Rights Division,
19   launched an investigation of the Los Angeles County Sheriff's Department (LASD) in
20   response to complaints and allegations of civil rights violations in the Antelope Valley.
21   In June of 2013, the DOJ investigation found that LASD deputies in the Antelope
22   Valley had violated the Constitution, including by conducting discriminatory and
23   illegal searches and seizures primarily affecting Black residents. The investigation
24   resulted in a Settlement Agreement (hereinafter the “SA”) that mandated a batch of
25   reforms, as well as periodic monitoring reports by the Antelope Valley Monitoring
26   Team.
27           108. While this case does not specifically concern the implementation of the
28   SA, in 2022, the Antelope Valley Monitoring Team issued its 15th Semi-Annual
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                                    COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS        Document 1     Filed 03/24/25    Page 28 of 38 Page ID
                                        #:28


 1   Report. In the 15th Semi-Annual Report, the Antelope Valley Monitoring Team stated
 2   that in 2020, the Antelope Valley Monitoring Team sent correspondence to
 3   VILLANUEVA and to Judge John F. Walter (judge overseeing the settlement) to draw
 4   attention to several crucial SA requirements still unfinished and to the lack of sufficient
 5   LASD leadership regarding the implementation of the SA, which the Antelope Valley
 6   Monitoring Team found to be the main cause of lack if implementation of the terms of
 7   the SA. Two years later, in the Antelope Valley Monitoring Team’s July 2022 report,
 8   the Antelope Valley Monitoring Team documented that progress had continued to stall
 9   or backslide and that those crucial tasks were still not completed. The Monitors’
10   frustrations with the delays were at an all-time high, compelling the Antelope Valley
11   Monitoring Team to request that DOJ, LASD, and the COUNTY seek judicial
12   involvement to address the systemic issues in the Antelope Valley. Faced with a
13   Department and County that were unsupportive if not outright resistant to the reforms
14   outlined in the SA, and a void of leadership willing or able to prioritize the SA, the
15   Monitors felt that judicial involvement was necessary to motivate LASD to implement
16   the SA. the Antelope Valley Monitoring Team cited the following factors, among other
17   issues, as critical failures by LASD and the COUNTY with the implementation of the
18   SA. 1. Lack of leadership and executive involvement. 2. Lack of attempts to undertake
19   or prioritize required SA-related work. 3. Lack of urgency. 4. Insufficient resources
20   allocated to the SA-related work. 5. Insufficient use of data and a lack of a culture of
21   transparency. 6. Lack of progress on LASD internal audits.4 Accordingly, the SA and
22   the failure to implement the SA show how constitutional violations are standard
23   procedures in the Antelope Valley and that COUNTY and LASD has failed to train its
24   deputies.
25
     4
26
      A link to the Antelope Valley Monitoring Team issued its 15th Semi-Annual Report
     can be found in the following link:
27   http://www.antelopevalleysettlementmonitoring.info/content/documents/reports/15%
28   20Semi-Annual%20Report,%20December%202022.pdf

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                                     COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS       Document 1     Filed 03/24/25   Page 29 of 38 Page ID
                                       #:29


 1         109. Defendants COUNTY and LASD, and individual supervisory officials
 2   thereof, whether named or unnamed, had either actual or constructive knowledge of
 3   the unconstitutional policies, practices, and/or customs set forth herein. Despite this
 4   knowledge, the Defendants COUNTY and LASD, by and through officials with final
 5   policymaking authority, did condone, tolerate, and ratify such policies, customs, and
 6   practices, and have shown deliberate indifference to the foreseeable effects and
 7   consequences of these policies, customs, and practices with respect to the civil rights
 8   and wellbeing of the present Plaintiffs, other individuals similarly situated, and the
 9   general public.
10         110. Accordingly, the policies, practices, and/or customs implemented,
11   maintained, or still tolerated by Defendants COUNTY and LASD, or final
12   policymakers thereof, are so inextricably connected to the unconstitutional conduct that
13   Plaintiffs have endured as to be a substantial moving force behind it. Clearly,
14   Defendants COUNTY’s and LASD’s unconstitutional customs and practices was the
15   moving force which caused Plaintiff’s injuries. Therefore, Defendants COUNTY and
16   LASD must be regarded as similarly liable for all claims raised herein against its
17   employees, agents, and/or representatives under 42 U.S.C. § 1983.
18                            SEVENTH CLAIM FOR RELIEF
19                                         Negligence
20          (By All Plaintiffs as Against as Against All Defendants Save LASD)
21         91.    Plaintiffs reallege and incorporate herein by reference each of the forgoing
22   paragraphs of this Complaint with same force and effect as if fully set forth herein.
23         92.    This cause of action as to the COUNTY is brought pursuant to section 820
24   and 815.2 of the Government Code. Pursuant to Section 820 of the California
25   Government Code, as public employees, Defendant Deputies LOGAN SIMI, SHANE
26   QUESADA, NOEL WITTY, and DOES 1-10, inclusive, are liable for injuries caused
27   by their acts or omissions to the same extent as a private person. Under Section 815.2
28   of the Government Code, as public entities, Defendant COUNTY is liable for injuries
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                                    COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS          Document 1    Filed 03/24/25   Page 30 of 38 Page ID
                                          #:30


 1   caused by the acts or omissions of their employees committed within the course and
 2   scope of their employment. This cause of action is not alleging direct liability against
 3   Defendant COUNTY, only vicarious liability. See Gov. Code, § 815.2, subds. (a), (b);
 4   Zelig v. County of Los Angeles (2002) 27 Cal.4th 1112, 1128.
 5         93.      At all times, Defendant Deputies LOGAN SIMI, SHANE QUESADA,
 6   NOEL WITTY, and DOES 1-10, inclusive, owed FRANCISCO NUNEZ a duty to act
 7   with due care in the execution and enforcement of any right, law, or legal obligation.
 8         94.      At all times, these Defendant Deputies LOGAN SIMI, SHANE
 9   QUESADA, NOEL WITTY, and DOES 1-10, inclusive, owed FRANCISCO NUNEZ
10   the duty to act with reasonable care.
11         95.      At all times herein mentioned, Defendant Deputies LOGAN SIMI,
12   SHANE QUESADA, NOEL WITTY, and DOES 1-10, inclusive, negligently failed to
13   exercise due care and breached their duty by using unreasonable force against
14   FRANCISCO NUNEZ, viciously beating NUNEZ, not summon medical care for
15   NUNEZ’s resulting injuries, and allowing NUNEZ to suffer until his death. Instead of
16   not beating NUNEZ, properly taking NUNEZ into custody and booking him into jail,
17   or even seeking necessary medical intervention for the harms Defendant DEPUTIES
18   caused to NUNEZ, Defendant DEPUTIES allowed NUNEZ to die in their custody
19   before abandoning NUNEZ’s body to be discovered by passers-by.
20         96.      These general duties of reasonable care and due care owed to
21   FRANCISCO NUNEZ by Defendants include but are not limited to the following
22   specific obligations:
23               a. To follow proper protocol for initiating and carrying out a pedestrian stop;
24               b. To use reasonable force, including only using force when lawfully
25                  authorized;
26               c. To refrain from unreasonably creating danger or increasing Decedent’s
27                  risk of harm;
28   ///
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                                      COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS             Document 1    Filed 03/24/25   Page 31 of 38 Page ID
                                             #:31


 1                   d. To use generally accepted law enforcement procedures and tactics that are
 2                      reasonable and appropriate for Decedent’s status as a person not seen
 3                      engaged in criminal activity or with an active warrant;
 4                   e. To refrain from causing injury to individuals in custody such as Decedent;
 5                   f. To properly summon timely medical care to individuals in custody who
 6                      have been injured or harmed or are experiencing a medical emergency;
 7                   g. To timely provide medical care to individuals in custody who are
 8                      experiencing a medical emergency;
 9                   h. To refrain from abusing their authority granted them by law; and
10                   i. To refrain from violating Plaintiffs’ and Decedent’s rights as guaranteed
11                      by the United States and California Constitutions, as set forth above, and
12                      as otherwise protected by law.
13             97.      Defendant Deputies LOGAN SIMI, SHANE QUESADA, NOEL
14   WITTY, and DOES 1-10, inclusive, through their acts and omissions, breached each
15   and every one of the aforementioned duties owed to FRANCISCO NUNEZ.
16             98.      This claim for relief is also brought as a survival claim because
17   FRANCISCO NUNEZ suffered pre-death pain and suffering due to the acts and
18   omissions of Defendants. Therefore, the Estate is seeking pre-death pain and suffering
19   damages pursuant to Cal. Code Civ. Proc. Section 377.34 in addition to wrongful death
20   damages.
21             99.      Defendants LOS ANGELES COUNTY SHERIFF’S DEPARTMENT
22   and COUNTY OF LOS ANGELES are vicariously liable for the violations of state law
23   and conduct of their officers, employees, and agents, including individual named
24   defendants, under California Government Code § 815.2.
25             100. As a direct and proximate result of these Defendants’ negligence,
26   FRANCISCO NUNEZ sustained injuries and damages, and against each and every
27   Defendant named in this claim for relief in their individual capacities are entitled to
28   relief.
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                                          COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS         Document 1     Filed 03/24/25   Page 32 of 38 Page ID
                                         #:32


 1                               EIGHTH CLAIM FOR RELIEF
 2                                  Battery by a Peace Officer
 3         (By Plaintiff ESTATE OF FRANCISCO NUNEZ, as Against All Defendants
 4                                          Save LASD)
 5            68.   Plaintiffs reallege and incorporate herein by reference each of the forgoing
 6   paragraphs of this Complaint with the same force and effect as if fully set forth herein.
 7            69.   The present cause of action is brought pursuant to Cal. Gov. Code §§
 8   815.2 and 820 as well as Cal. Civ. Code § 52.1. Under § 820, as a public employee, the
 9   individual defendants, LOGAN SIMI, SHANE QUESADA, NOEL WITTY, and
10   DOES 1-10, inclusive, are liable for injuries caused by his acts or omissions to the same
11   extent as a private person. Under § 815.2, the defendant public entities, LOS
12   ANGELES COUNTY SHERIFF'S DEPARTMENT and COUNTY OF LOS
13   ANGELES, are vicariously liable for injuries caused by the acts or omissions of its
14   employees, officers, and agents, committed within the course and scope of that
15   employment, including Defendants LOGAN SIMI, SHANE QUESADA, NOEL
16   WITTY, and DOES 1-10. This cause of action is not alleging direct liability against
17   Defendants LOS ANGELES COUNTY SHERIFF'S DEPARTMENT and COUNTY
18   OF LOS ANGELES, only vicarious liability. See Cal. Gov. Code § 815.2(a-b); Zelig
19   v. County of Los Angeles (2002) 27 Cal.4th 1112, 1128.
20            70.   Defendants LOGAN SIMI, SHANE QUESADA, NOEL WITTY, and
21   DOES 1-10, inclusive, intentionally made physical contact with Plaintiff FRANCISCO
22   NUNEZ’s person by chasing him, contacting him, handcuffing him, and assaulting him
23   sufficient to cause bruises, abrasions, potential burns, and ultimately death.
24            71.   Furthermore, as previously set forth, the deadly force used by Defendants
25   LOGAN SIMI, SHANE QUESADA, NOEL WITTY, and DOES 1-10, inclusive, was
26   not necessary to defend human life under California law because FRANCISCO
27   NUNEZ was not a threat of death or serious bodily injury to Defendant DEPUTIES.
28   ///
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                                      COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS          Document 1   Filed 03/24/25   Page 33 of 38 Page ID
                                          #:33


 1         72.    The actions and omissions of Defendants DEPUTIES LOGAN SIMI,
 2   SHANE QUESADA, NOEL WITTY, and DOES 1-10, inclusive, were a substantial
 3   factor in causing FRANCISCO NUNEZ harm because the deadly force used by
 4   Defendants DEPUTIES caused NUNEZ’s substantial bodily harm and death.
 5         73.    Therefore, as a direct and proximate result of Defendants LOGAN SIMI,
 6   SHANE QUESADA, NOEL WITTY, and DOES 1-10’s conduct, FRANCISCO
 7   NUNEZ suffered injuries causing him severe mental, physical, and emotional distress
 8   and anguish from which he would ultimately sustain serious injuries and for which he
 9   is entitled to compensation.
10         74.    Furthermore, as set forth herein, Defendants LOGAN SIMI, SHANE
11   QUESADA, NOEL WITTY, and DOES 1-10, inclusive, acted with willful and
12   conscious disregard for the rights and wellbeing of FRANCISCO NUNEZ, thereby
13   subjecting him to cruel and unjust hardship. Accordingly, the actions and omissions of
14   Defendant DEPUTIES were malicious and oppressive under the meaning of Cal. Civ.
15   Code § 3294, entitling Plaintiff to recover punitive as well as compensatory damages
16   in order to deter future misconduct by the example of Defendant’s punishment.
17         75.    Accordingly, Plaintiff FRANCISCO NUNEZ is entitled to recover
18   punitive damages and compensatory damages for the severe physical, mental, and
19   emotional anguish NUNEZ experienced in the moments leading up to and including
20   his serious bodily harm due to the negligence of Defendants LOGAN SIMI, SHANE
21   QUESADA, NOEL WITTY, and DOES 1-10, inclusive.
22                              NINTH CLAIM FOR RELIEF
23                         Violation of California Civil Code §52.1
24                                       (Tom Bane Act)
25     (By Plaintiff ESTATE OF FRANCISCO NUNEZ, as Against All Defendants
26                                         Save LASD)
27         101. Plaintiffs reallege and incorporate herein by reference each of the forgoing
28   paragraphs of this Complaint with the same force and effect as if fully set forth therein.
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                                      COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS       Document 1      Filed 03/24/25   Page 34 of 38 Page ID
                                       #:34


 1         102. This cause of action as to the COUNTY is brought pursuant to section 820
 2   and 815.2 of the Government Code as well as Civil Code Section 52.1. Pursuant to
 3   Section 820 of the California Government Code, as public employees, Defendant
 4   Deputies LOGAN SIMI, SHANE QUESADA, NOEL WITTY, and DOES 1-10,
 5   inclusive, are liable for injuries caused by their acts or omissions to the same extent as
 6   a private person. Under Section 815.2 of the Government Code, as a public entity,
 7   Defendant COUNTY is liable for injuries caused by the acts or omissions of their
 8   employees committed within the course and scope of their employment. This cause of
 9   action is not alleging direct liability against Defendant COUNTY, only vicarious
10   liability. See Gov. Code, § 815.2, subds. (a), (b); Zelig v. County of Los Angeles (2002)
11   27 Cal.4th 1112, 1128.
12         103. By their acts, omissions, customs, and policies, Defendant Deputies
13   LOGAN SIMI, SHANE QUESADA, NOEL WITTY, and DOES 1-10, inclusive, each
14   acting in concert/conspiracy, as described herein, while FRANCISCO NUNEZ was in
15   their custody, and by threat, intimidation, and/or coercion, interfered with, attempted
16   to interfere with, and violated NUNEZ’s rights under California Civil Code § 52.1 and
17   under the United States Constitution and California Constitution as follows:
18             a. To be free from bodily harm pursuant to Cal. Civ. Code § 43;
19             b. The right to be free from governmental interference as secured by the
20                Fourteenth Amendments to the United States Constitution and by
21                California Constitution, Article 1, §§ 7 and 13;
22             c. The right to be free from unreasonable force as secured by the Fourth
23                Amendments to the United States Constitution, Penal Code Section 835a
24                and the California Constitution;
25             d. The right for the familial association to be free from government
26                interference as secured by the Fourteenth Amendments to the United
27                States Constitution; and
28   ///
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                                     COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS        Document 1    Filed 03/24/25      Page 35 of 38 Page ID
                                        #:35


 1            e. The right to enjoy and defend life and liberty; acquire, possess, and protect
 2                property; and pursue and obtain safety, happiness, and privacy, as secured
 3                by the California Constitution, Article 1, § 1.
 4         104.   Defendants’ violations of FRANCISCO NUNEZ’s due process rights
 5   with deliberate indifference, in and of themselves constitute violations of the Bane Act.
 6   Alternatively, separate from, and above and beyond, Defendants’ attempted
 7   interference, interference with, and violation of NUNEZ’s rights as described above,
 8   Defendants violated NUNEZ’s rights by the following conduct constituting threat,
 9   intimidation, or coercion:
10            a. Intentionally using unreasonable force on FRANCISCO NUNEZ;
11            b. Intentionally placing FRANCISCO NUNEZ in danger of death or serious
12                bodily injury by
13            c. Intentionally refusing to summon medical care to FRANCISCO NUNEZ;
14            d. Intentionally refusing to provide medical care to FRANCISCO NUNEZ;
15                and
16            e. Intentionally placing FRANCISCO NUNEZ in danger of death or serious
17                bodily injury by not tending to his medical emergency resulting from
18                Defendants’ unreasonable use of force.
19         105. Further, all of Defendants’ violations of duties and rights, and coercive
20   conduct, described herein were volitional acts; none was accidental or merely
21   negligent.
22         106. Further, each Defendant violated FRANCISCO NUNEZ’s rights with
23   reckless disregard and with the specific intent and purpose to deprive them of their
24   enjoyment of those rights and of the interests protected by those rights.
25         107. Defendant LOS ANGELES COUNTY is vicariously liable for the
26   violations of state law and conduct of their officers, deputies, employees, and agents,
27   including individual named defendants, under California Government Code § 815.2.
28   ///
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                                     COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS       Document 1       Filed 03/24/25   Page 36 of 38 Page ID
                                       #:36


 1         108. As a direct and proximate result of Defendants’ violation of California
 2   Civil Code § 52.1 and of FRANCISCO NUNEZ’s rights under the Civil Code, United
 3   States and California Constitutions, NUNEZ sustained injuries and damages, and
 4   against each and every Defendant is entitled to relief, including punitive damages
 5   against all individual Defendants, and all damages allowed by California Civil Code
 6   §§ 52 and 52.1 and California law, not limited to a multiplier of damages including
 7   treble damages, costs attorneys’ fees, and civil penalties.
 8                                 REQUEST FOR RELIEF
 9         Wherefore, Plaintiffs respectfully requests that the Court enter a judgment as to
10   Defendants as follows:
11         A.     For compensatory damages including but not limited to physical, mental,
12                and emotional pain and suffering, as well as all past, present, and future
13                related medical expenses, in amounts to be determined according to proof
14                at trial;
15         B.     For Loss of support and familial relationships, including loss of love,
16                companionship, comfort, affection, society, services, solace, and moral
17                support, pursuant to Cal. Code of Civ. Proc. § 377.60 et. seq.;
18         C.     For Wrongful death of FRANCISCO NUNEZ, pursuant to Cal. Code of
19                Civ. Proc. § 377.60 et. seq.;
20         D.     For FRANCISCO NUNEZ coroner’s fees, funeral and burial expenses,
21                pursuant to Cal. Code of Civ. Proc. § 377.20 et. seq.
22         E.     For Violation of FRANCISCO NUNEZ’s constitutional rights, pursuant
23                to Cal. Code of Civ. Proc. § 377.20 et. seq. and federal civil rights law;
24         F.     For FRANCISCO NUNEZ’s loss of life, pursuant to federal civil rights
25                law;
26         G.     For Plaintiffs conscious pain, suffering, and disfigurement, pursuant to
27                state law and federal civil rights law;
28   ///
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                                    COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS       Document 1   Filed 03/24/25    Page 37 of 38 Page ID
                                       #:37


 1        H.    For General Damages, including wrongful death and survival damages, in
 2              excess of the mandatory amount for jurisdiction in the Unlimited Superior
 3              Court;
 4        I.    For Non-Economic Damages, according to proof plus all further and
 5              proper relief;
 6        J.    For Punitive damages as to individual peace officer defendants;
 7        K.    For Attorney’s fees pursuant to State Law (Cal. Code Civ. Proc. § 1021.5
 8              & private attorney general doctrine);
 9        L.    For Penalties under the Tom Bane Act;
10        M.    For Interest;
11        N.    For all other damages allowed under state law;
12        O.    All other damages, penalties, costs, interest, and attorneys’ fees as allowed
13              by 42 U.S.C. §§ 1983 and 1988; California Code of Civil Procedure §
14              1021.5; California Civil Code §§ 52 et. seq., 52.1; and as otherwise may
15              be allowed by California and/or federal law; and
16        P.    For such further relief as the Court may deem proper and just.
17
     Dated: March 24, 2025           LAW OFFICES OF CHRISTIAN CONTRERAS
18                                       A PROFESSIONAL LAW CORPORATION
19

20                                         By:
                                           Christian Contreras, Esq.
21                                         Attorney for Plaintiffs,
                                           ESTATE OF FRANCISCO NUNEZ, et al.
22

23   Dated: March 24, 2025          GASTÉLUM LAW, APC
24
                                    By: _______________________
25
                                    Denisse O. Gastélum, Esq.
26                                  Attorneys for Plaintiffs, F.N. & B.N.
27

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                                   COMPLAINT FOR DAMAGES
Case 2:25-cv-02588-MWC-ADS      Document 1     Filed 03/24/25   Page 38 of 38 Page ID
                                      #:38


 1   Dated: March 24, 2025          LAW OFFICES OF HUMBERTO GUIZAR, APC

 2

 3
                                    By: _______________________
                                    Humberto Guizar, Esq.
 4                                  Attorneys for Plaintiffs, A.N.1 & A.N.2
 5

 6                            DEMAND FOR JURY TRIAL
 7        Plaintiffs hereby make a demand for a jury trial in this action.
 8   Dated: March 24, 2025           LAW OFFICES OF CHRISTIAN CONTRERAS
                                         A PROFESSIONAL LAW CORPORATION
 9

10
                                           By:
11                                         Christian Contreras, Esq.
                                           Attorney for Plaintiffs,
12                                         ESTATE OF FRANCISCO NUNEZ, et al.
13
     Dated: March 24, 2025          GASTÉLUM LAW, APC
14

15                                  By: _______________________
16
                                    Denisse O. Gastélum, Esq.
                                    Attorneys for Plaintiffs, F.N. & B.N.
17

18

19
     Dated: March 24, 2025          LAW OFFICES OF HUMBERTO GUIZAR, APC
20
21                                  By: _______________________
22                                  Humberto Guizar, Esq.
                                    Attorneys for Plaintiffs, A.N.1 & A.N.2
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                                   COMPLAINT FOR DAMAGES
